
Nichols, Judge,
concurring in part, dissenting in part:
I agree that WOI-TV is an unrelated business activity to Iowa State University. However, I deem that the two radio stations are so integrated with the TV station that their excess expenses should be offset under the Code. I join the majority again in failing to see any issue of Constitutional dimensions.
The integration issue is primarily factual. I note that the joinder of radio and TV facilities is ordinary and usual. There is reference in the findings to two other instances in the Des Moines-Ames market alone. It is natural as permitting fuller employment of sports casters, weather prophets, news analysts, etc., as well as studios and other technical facilities, and it allows of a fuller saturation of the available market. In various fields the joinder of profit making and un-remunerative activities is ordinary and usual. Should members and associates of a law firm devote some portion of their time to pro bono publico activities, as, e.y., representing indigents in court, I would not expect the tax man to demand the segregation and disallowance of a corresponding portion of the law firm’s costs. Yet that is a logical corrollary of the reasoning used here, and one that no doubt we will come to.
The cases cited do not deal with factually integrated business operations and do not warrant the disallowance of the costs of a division or branch of an enterprise merely because it is, temporarily or permanently, unprofitable.
More to the point is the court’s holding that the TV profits were not “generally” diverted to support the radio stations. Support came, the court says, out of the state’s “subsidy” to the University. We are not given details as to the state’s appropriation procedure, or whether it included “line items”. One gathers from the summary in Finding 59 that the University kept its revenues out of “miscellaneous receipts” and obtained appropriation only of enough to cover its overall deficit. Thus the TV earnings apparently operated to reduce the subsidy necessary. The absence of effort to sell advertising on the radio has significance. If the radio stations developed some revenue, even if not enough to cover their costs, plaintiff would have a stronger case, one must concede. I do *365not deem the point conclusive, however, in light of the very generalized finding.
The separate management and accounting maintained for TV and radio is without significance, as the following quote sufficiently shows:
ACCOUNTING FOE DEPARTMENTAL OPERATIONS
Management of an enterprise that sells two or more distinct classes of services or commodities or that is divided into departments, needs accounting reports to evaluate the various segments of the business. * * * *****
* * * In a modern department store, for example, there are a number of distinct departments each under the control of a departmental manager. A departmental breakdown for accounting and reporting helps place responsibility for the control of a department’s operations upon departmental managers. It assists top management both in evaluating the relative operating efficiencies of individual departments and in planning future operations. [C. Niswonger and P. Fess, Accounting Principles, pp. 469-70 (10th ed. 1969). See also C. Horngren, Accounting for Management Control, Chapter 11 (2d ed. 1970).]
In short, I do not assert that the losses of an unrelated pro bono publico activity may be offset against the profits of a business enterprise, but I deny that the activity here is unrelated. It has a close and intimate relation, as the undisputed facts all show.
FINDINGS OF FACT
The following findings of fact are based on an extensive stipulation of facts agreed to by the parties and on the testimony of numerous witnesses taken at trial sessions held in Ames, Iowa and Washington, D.C.
1. The plaintiff, Iowa State University of Science and Technology, is located in Ames, Iowa, and was created by act of the Iowa legislature in 1858 as a state college (originally known as Iowa Agricultural College) to emphasize training in agriculture and mechanical arts. In 1862, Congress *366passed the Morrill Land Grant Act creating the land-grant college system throughout most of the United States, and Iowa became the first state to accept the terms of that Federal statute. The college opened its doors in 1868 and in the following years, as a coeducational land-grant institution, taught agriculture, mechanical arts, mining, ceramics, and subjects in related areas; it conducted extension work in agriculture and home economics and established agricultural experiment stations. The first graduate degrees were offered in 1877.
2. Under the laws of the State of Iowa, the University, owned by the State of Iowa and operated by it as a part of the state system of higher education (together with several other institutions of higher learning), is governed by the State Board of Regents. This board is composed of nine members appointed by the Governor of Iowa and confirmed by the Senate of Iowa. The University is administered by the president and faculty of the University.
3. Iowa State was a pioneer in the development of educational programs in agricultural curricula, veterinary medicine, engineering, and home economics. In addition to teaching, graduate students participate in research, and faculty members participate in research and extension functions. During the years in issue, plaintiff was a broadly based university with special teaching responsibilities in science and technology. It had an extension education program throughout the state and substantial research interests. The nature of plaintiff’s threefold program is recognized as:
Higher education with emphasis on science and technology;
Extension education to make knowledge available throughout the state;
Research to advance the frontiers of learning.
In 1965, its enrollment exceeded 14,000 students with a faculty approximating 1,500.
4. The courses of study available at Iowa State have constantly been enlarged, but a substantial emphasis has remained on agriculture, engineering, home economics, veterinary medicine, and the publication and dissemination of useful information. Current trends in the development of the *367plaintiff’s curriculum are toward fewer but broader requirements in the humanities, a shift from specific basic preparation in areas of specialization, more interdepartmental work and development of new areas. The University offers opportunities for study in many fields of mathematical, physical, biological, and social sciences, as well as in history, literature, philosophy, and music. Although the plaintiff has been well-known for its science and technology courses, more than one-third of its undergraduates in 1964 were enrolled in the College of Sciences and Humanities. This one college accounted for nearly half of the University’s total enrollment increase between 1960 and 1968. Undergraduate students in agriculture, engineering, home economics and veterinary medicine earn nearly half their credits in the College of Sciences and Humanities.
5. Educational functions at Iowa State are not limited to formal instruction of registered students. For example, in the year ended June 30, 1965, 158 short courses and conferences attracted 22,941 persons to the Ames campus for education and training in such areas as fire-fighting techniques, advances in educational methods, and bank lending practices. In the same year, more than 8,000 persons attended off-campus adult education classes in such fields as city administration, engineering and management, and civil defense training. Over 24,000 persons attended agricultural field days conducted at various locations throughout the state.
6. The plaintiff also offers off-campus courses for credit designed for fully employed professional and technical workers who seek courses available only from the University but who cannot economically commute to the campus due to factors of time and distance. Enrollment in such courses in 1964-1965 was 8,375.
7. Extension activity at the University began in 1870 and Iowa State became a pioneer in this field. In 1882, the first organized home economics extension project in the nation was presented in Des Moines by the wife of the president of the University. A member of the faculty initiated the first county cooperative extension plan in the country in 1903. The engineering extension service was organized in 1913. Extension activities have continued to the present time to *368carry useful and practical information to people throughout the state. Extension personnel deal with people where they are and according to their interests and needs for information coming from the research of the University.
8. A central extension staff, headquartered on the campus, and a field staff, with headquarters in each of the 99 counties of the state, work with nearly 50,000 local volunteer leaders in carrying out the University’s various extension activities.
9. The United States Department of Agriculture, the University, the county governments and locally organized groups are all cooperators in extension. Financial support for extension work comes from state, Federal, and county appropriations.
10. In 1914, the University’s Electrical Engineering Department built an experimental wireless transmitter and directed its operation. The call letters “9Y1” were chosen. The transmitter operated by using a synchronous spark with a 240-cycle note and Morse Code signals. In 1921, the station’s signal was converted to voice transmission and with this development the station began to disseminate weather reports, forecasts, and crops reports. In 1923, the programming of farm news on the station, by then called WOI, became the function of the extension service. Not long after the beginning of broadcasting, the radio station added music programming. In 1925, the radio station was designated an independent part of the College and made responsible administratively to the Engineering Extension Service. It was determined that funds for its operations would come from the Agricultural Extension Service and the general funds of the Institution. By 1926, educational talks and a book review program had become regular features of the station.
Television was presented to the public in 1939, and a few experimental stations had been authorized by the FCC. In the early 1940’s, the administration of the University studied the feasibility of constructing and operating a television station. Considerations at that time included the University’s obligation to extend its talents and functions to the' people of Iowa, including expansion of the extension service.
At this time, no consideration was given to commercial sponsorship of any kind.
*36911. Upon obtaining approval of the Board of Begents, applications for construction permits were submitted to the Federal Communications Commission by the University in 1944 for FM broadcasting and in 1945 for television. In 1947, FCC issued to the University a license and construction permit for television and FM broadcasting. A common AM-FM-TV transmitting plant, tower, and antennae system were then built. WOI-FM went on the air on July 1, 1949, and WOI-TV followed on February 21, 1950. However, since it is not possible to transmit both radio and television signals from the same antennae, WOI-TV and WOI-FM transmit from antennae hanging from the tower while WOI-AM transmits from the tower itself.
12. In the meantime, in 1948, the Federal Communications Commission had stayed all new permit applications. There were then 36 television stations operating in the United States. The order, known in the television world as the “freeze”, was designed to permit long-range planning and give the FCC time to restudy the allocation and assignment of television broadcast frequencies based on engineering studies to be conducted by the Commission.
The freeze left Iowa State University as the holder of the only permit in the central part of the State of Iowa and one of 70 stations in the country with applications pending and which were permitted to proceed with construction. 'Because WOI-TV was the only television station licensed to operate in central Iowa, after construction of its facilities, but before the station actually began broadcasting, representatives of the existing commercial television networks, CBS, ABC, NBC, and DuMont, called on the University, each asking that the station act as an outlet for its commercial programs in the area. 'In January 1950, President Friley took the offers before the State Board of Education. He recommended acceptance of the offers, noting at the same time that as soon as the freeze was ended by 'FCC (thought then to be in two years) and additional licenses granted, the Des Moines radio stations affiliated with a radio network would be free to obtain television licenses of their own with the assurances of affiliation with their own television networks. Two radio network stations had already filed applications for permits *370and ■construction of television stations. KRNT-TY filed its application on February 12, 1948, and WHO-TY on February 20, 1948. The Board of Education, noting there was no element of competition involved and that the 'Des Moines radio stations would be protected, approved President Friley’s recommendation and, accordingly, contracts were entered into with NBC, CBS, ABC, and DuMont under which WOI-TY agreed to broadcast commercial network programs for compensation. On April 14,1952, the FCC canceled the freeze and in its Sixth Report and Order assigned and allocated frequencies throughout the United States according to the best scientific and engineering studies then available.1 The Sixth Report a/nd Order laid down tho ground rules for the development of the television industry. James Sheridan, presently chief of Research and Education Division of the Broadcast Bureau, Federal Communications Commission, and former chief of the Broadcast Bureau, testified as an expert in this case. Mr. Sheridan was a member of the staff of the Commission which worked on the Sixth Report a/nd Order prior to its promulgation.
13. The Federal Communications Commission, in its Sixth Report a/nd Order, made available for the first time two types of licenses for television operation, each to be utilized on specific channels. These two types were (1) a commercial television license and (2) a noncommercial educational television license.
Commercial stations could be licensed to individuals, organizations, corporations, and institutions without restriction or regard to their use for profit-making purposes. They may be used for eleemosynary purposes. The programming requirement placed upon the ownership of commercial allocations is that they must be used “in the public interest, convenience and necessity.” This test is the sole basis for the grant of a station’s license and its renewal. Operation under a commercial license does not mean that a station is not or cannot be owned by an educational organization nor have educational purposes in programming. A commercial station could be operated on a noncommercial basis. However, a *371noncommercial station may be licensed only to nonprofit institutions. Tbe 'FCC does not require that noncommercial stations limit their programming to educational topics. Stations licensed as noncommercial may program in any way that serves the public interest.
14. In the Sixth Report and Order, the FCC sought to establish a group of stations which would function as noncommercial educational stations. They were to be licensed to educational institutions, educational foundations, public school systems, and similar institutions. The FCC had had experience with commercial AM radio stations, and this experience led it to conclude that if television stations were not specifically allocated for noncommercial educational broadcasting, a balanced radio and television system would not exist because commercial interests would occupy all frequencies. Commercial advertising was thought to be inconsistent with broadcasting directed primarily to educational purposes because it would erode and undermine objective decisions on program content. Thus, to provide more objective decisions concerning programming, advertising was prohibited on noncommercial educational stations.
15. In the Sixth Report and Order, the FCC announced that it would reserve both UHF and VHF channels, and approximately 10 percent of the assignments were reserved for noncommercial educational purposes. The reservation of specific channels for education was the result of efforts by various groups, including the United States Office of Education, the National Educational Association, the National Association of Educational Broadcasters, and the American Counsel on Education. An ad hoe Joint Committee on Educational Television had been formed in October 1950, to represent these and other groups, and it was this committee which petitioned the FCC for a noncommercial television reservation plan. The committee rejected the alternative, suggested by a number of its members, that it petition for the allocation of channels for educational television to operate on the concept of nonprofit, as well as noncommercial, educational stations. Nevertheless, certain groups proposed the concept of nonprofit educational stations to the FCC. This proposal, which would have allowed educational stations to sell adver*372tising in order to support their educational programming endeavors, was rejected. The Commission at that time felt that a commercial system had certain restrictions built into it which would not permit it to perform functions in the area of education and instruction.
16. The Sixth Report and Order allocated only three commercial YHF channels to central Iowa, of which one was the channel already allocated to the plaintiff. NBC affiliated its television license with the NBC radio station in Des Moines. The CBS network ultimately affiliated with the CBS radio station in Des Moines. DuMont television had gone out of existence. The ABC network had no radio affiliate in the Des Moines area which had filed an application to engage in television operation. The third VHF channel was held by Iowa State University. ABC and the plaintiff agreed to continue their affiliation, and this affiliation has continued to the present time.
WHO-TV has operated in the years in issue, and up to the present time, under a commercial license in affiliation with the NBC network. KRNT-TV has operated in the years in issue, and up to the present time, under a commercial license in affiliation with the CBS network. KDPS-TV, owned by the Des Moines public schools, has operated during the years in issue, and up to the present time, under a noncommercial educational license and received programs from the National Educational Television network (NET). Its present call letters are KDIN-TV.
17. Since 1952, when the two types of license became available, WOI-TV has operated under a commercial license. During the years in issue, WOI-AM-FM-TV participated in various educational activities both independently and as part of the University community. The station was involved in planning for a state-wide network of educational television stations through its participation in the Iowa Joint Committee for Educational Television (LICET). Although early plans called for WOI-TV to become part of this network, when the final legislation passed in 1967, KDPS-TV, the Des Moines educational station, became the local participant.
*37318. In 1952, WOI-TV, in coordination with, the Iowa Joint Committee on Educational Television, began the production of half-hour programs for use in the classrooms of the State. Programming began in October of that year and has been telecast continuously since that time. The content of the broadcasts and teachers were selected by the Committee. The teachers selected woi’ked with WOI-TV producer-directors and staff in the station’s studios and the programs were originally produced live. WOI-TV bore some of the costs of production, and the rest were paid for by the Committee. Iowa State, as a member of the Committee, bore 20 percent of the IJCET expenses.
By 1956, programs could be recorded on kinescopes without bringing the teachers to the WOI-TV studios. These kine-scopes were used by WOI-TV and four other Iowa stations during the years in issue. The tapes were made available by WOI without cost to the other stations.
The series, entitled “Iowa TV Schooltime”, was presented five days a week, extended over a nine-month school year, for a total of 30 weeks per year. The content ranged from Iowa history to science, art, and political science. Enrollments in the program, compiled by participating school superintendents for the purpose of allocating costs, were as follows:



By 1965, instructional programs were being deposited in regional instructional television libraries, and WOI-TV supplemented a few of its programs from the Great Plains Library in Lincoln, Nebraska. The rental costs of these programs are $55 per half-hour and $50 per quarter-hour, or a total of $1,500 per series per year. Total cost for five series of programming has been approximately $7,000 per year. *374Station WOI-TV has made no charge to participating schools for broadcast time for carrying these program series.
In addition to the above-described “TV Schooltime” series, WOI-TV presents classes in elementary Spanish for 15 minutes each day during the school year. These recorded presentations alternate between two levels of study and were used in approximately 60 elementary schools.
19. The University Extension Service has the responsibility for taking the results of research, scholarship, and educational programs of the campus to groups and individuals throughout the State. Person-to-person contacts and educational meetings formerly constituted the chief methods of bringing education to the Iowa population, but mass media, radio, and particularly television have become the means for extending these staff resources to increasing numbers of people.
WOI-TV and Eadio were not the only outlets of Extension Service information during the years in issue. Programs were occasionally produced at other local stations, including the Des Moines educational station KDPS-TV. Newspapers and other media were also utilized. WOI-TV has allotted time periods for regular extension programs. The major efforts of extension programming were in the area of market news for WOI radio. Eadio news was aimed primarily at day-to-day fluctuation while television news dealt mostly with trend analysis. Three members of the Extension Service staff performed duties primarily in the programming and broadcasting of extension features during the periods in issue.
20. Each week during the periods in issue, the Extension Service prepared for daily broadcast on WOI-AM six 4-minute features on agriculture and two '6-minute programs on economic outlook and current University projects. Programs were taped and 52 copies were made and distributed to 20 radio stations serving Iowa. In addition, a regular 45-minute Farm Facts program' was produced daily on WOI-TV.
Also, during the years in issue, a weekday 30-minute Noon Farm Eeport on WOL-TV included time programmed and presented by the Extension Service personnel, utilizing the *375broadcast facilities and staff of the station. Kegularly programmed features on this program included news, weather, and crop reports, a daily feature, and 6 minutes of news on prices and trends with visual illustration. Four minutes of advertising were included in the news and weather segments. In addition to the Farm Eeport, two 6-minute home economics features were programmed daily.
Special 29-minute market programs were televised each Saturday. Occasionally one-half minute of advertising followed. The programs were reproduced and sent to 15 other stations in the Midwest.
Among the programs offered during the years in issue by the plaintiff’s Extension Service were agricultural production, conservation of national resources, efficient marketing and distribution of farm-raised products, family living, 4-H Club work, youth development, and community improvement and resource development.
Sometimes during the period in issue, the Extension Service used WOI-TY staff and facilities in the production of tapes to be used by other broadcasters throughout the State. WOI-TV was partially credited by the University for production expenses in amounts less than the costs incurred. Tapes became the property of the Extension Service.
21. The station has been helpful in aiding the Extension Service in responding quickly to new developments. For example, in 1961, the Federal Feed Grain Program was enacted during the busy spring season at a time when crop decisions had to be made immediately. Four days after the Secretary of Agriculture met in Omaha with administrative and educational leaders, WOI-TV broadcast a one-half hour program aimed primarily at county administrative personnel and Extention Service workers. The live program was taped and taken to four other stations. Within one week, the program had been broadcast through signals blanketing the entire State.
WOI-TV’s participation in the production, broadcast, and other dissemination of plaintiff’s extension programs contributed significantly to the carrying out of plaintiff’s extension obligations to the people of Iowa.
*37622. During the years in issue, WOI-TV provided closed-circuit instruction in from two to live of approximately 2,000 courses offered each year. These programs were developed by the WOI staff usually at the request of a faculty member. The station provided the production, direction personnel, and the use of studio equipment. No charge was made for the production assistance, but a fee of $2.25 per half-hour was made through Intramural Billing forms for wear and tear on the equipment. During the period in issue, WOI-TV had approximately $60,000 invested in equipment used solely for closed-circuit work.
No course was offered solely through closed-circuit presentations, and this method of instruction was considered supplementary to regular classroom sessions. The following chart ■represents the courses taught during the years in issue which utilized the technique of closed-circuit instruction.



The mathematics courses consisted of 40 tapes of 50 minutes each which were run for eight class sessions per quarter, and accounted for approximately one-half of total class time. The Engineering Graphics tapes were used approximately four times per quarter.
For the period 1961-65, there were a minimum of 21 courses in radio and television taught to Iowa State students per year with an average enrollment of 78 students per course per year. Most of the courses offered were in the areas of Technical Journalism or Telecommunicative Arts. In addition, one course each was offered by the Electrical Engineering, English, and Music Departments.
23. The two main departments which utilized WOI facilities during the years in issue were the Telecommuni-cative Arts subdepartment of the Department of English and *377Speech of the College of Arts and Sciences, and the Department of Technical Journalism (now the Department of Journalism and Mass Communication) serving majors in the Colleges of Agriculture, Home Economics, Science and 'Humanities, and Engineering. Academic credit was given for these courses.
The following courses offered by the Telecommunicative Arts Department utilized the facilities of WOX-AM-FM-TV to some extent:
TV Workshop 206A — Introduction. Theory and functions of studio facilities; duties of television production team; drill and practice in various duties.
TV Workshop 206B. On-the-air experience in educational television production and direction via closed-circuit or floor work and talent in WOI-TV programs.
TV Workshop 2060. Continuation of 206B.
Survey of Radio and Television Broadcasting SOI. American structure of radio and television and related industries; analysis of types of programs; role of broadcast media in education, entertainment, and public service; standards of evaluation.
TV and Radio Speech 80%. Theory and practice of effective television and radio speaking under closed-circuit conditions.
Radio Workshop 321. Introduction to radio techniques in announcing, writing, acting, use of sound and music; practice in integrating the various audio elements in actual production of radio programs.
TV Performance 326. Problems of the television performer ; adaptations in composition and interpretation which the medium requires of the announcer, narrator, master of ceremonies or actor. Studio situations designed to aid student in improving his performance skills.
TV Production and Direction 328. Theory and practice of television production. Programs analyzed with reference to staging, lighting, sound, shooting, and switching. Theory and practice of television directing. Translation of facts, ideas, emotions, and attitudes into meaningful visual and aural images.
Telecorwmnmicative Arts 400B. Students who have emphasized in earlier work, writing, lighting, staging, news-*378casting, demonstration, and performing will work as crews to create, write, direct, and produce programs for weekly broadcasts on WOI-TV.
These half-hour programs were broadcast by WOI-TV on -Sunday mornings beginning in 1965.
24. In 1964, when WOI-TV abandoned its quarters in the Exhibit Hall to move into its new building, the former studios were turned over to the Telecommunicative Arts Department. The studios were fully equipped for broadcasting; and the equipment, lighting, and insulation were left for the use of students.
The Technical Journalism Department, now known as the Journalism and Mass Communication Department, instructed students in the preparation, editing, production, and dissemination of information through all journalism media. Instruction in journalism at Iowa State was specialized and hence, students could major in agricultural journalism, home economics journalism, science journalism, or engineering journalism. In any of these fields, students could concentrate their studies in the broadcasting area. Not all of the 30 courses offered by the department are media related. Of those which are, many relate to combined media and only one exclusively to television.
25. The following courses were offered by the Technical Journalism Department in 1965 and involved some usage of the WOI-AM-FM-TV facilities:
Introduction to Mass Oom/nmnication 101. Communication models and their application to mass communication; mass communication process; characteristics and responsibilities of mass media; media-related professional operations.
Publicity and Public Relations 225. Communications fundamentals ; gathering and preparing materials for mass communication media; use of communications media for public relations purposes. Members of the WOI staff regularly lectured in this course.
Advertising 325. Principles of advertising; market and product research; planning, preparing and placing advertising; basic appeals; servicing advertising accounts.
Radio a/nd Television Advertising 326. Principles of advertising as applied to radio and television. Analysis of broad-*379oast media; preparation of radio and television commercials; time buying.
Radio and Television News 481. Techniques for gathering, writing, and editing news for radio and televison; use of film and other visual devices in television news; field trips. Students in this course were given staggered assignments in the WOI newsroom, and were involved in writing news copy for broadcast. At least one member of the W01 news staff devoted full time to these students while they were performing their writing, editing, and taping duties.
Informative Writing for Radio and Television 475. Writing and planning continuity, talks, discussion, demonstrations, and forums; documentary programming for radio and television. Part of the course work involved the production of closed-circuit programs of five-minute duration using WOI staff and facilities. Each class produced four to five or ten productions each year. The programs were replayed over closed-circuit for discussion and criticism.
Motion Picture Techniques 476. Basic techniques for shooting, editing, and presenting motion pictures as a means of communication with special emphasis on television requirements.
During the years in issue, graduate students seeking the Master of Science degree in journalism at Iowa State could apply for two WOI-TY assistantships which provided a substantial part of the student’s fees and living expenses. The students selected worked in the WOI-TY news staff on a half-time basis and the staff members gave them professional guidance.
The WOI-TY facilities were used by the Journalism Department as an example of the operations of a commercial television station. While a commercial television station was not necessary for preparation in the broadcasting profession, the close proximity provided students with an advantage in their opportunity to observe operations on a more frequent basis.
26. Students did not receive academic credit, nor was it a portion of assigned course work, when they broadcast on the air at WOI-AM-FM-TV. Students who were used as newscasters were paid for their services by the University. *380The stations employed students (majoring principally in Telecommunicative Arts. Technical Journalism, or Engineering) on a part-time basis for positions in the daily operations. These students were selected by WOI-AM-FM-TV from those recommended by the faculty. About 15 to 20 students per quarter were employed by WOI on a part-time basis. Other area stations also used students as part-time employees, but not to as large an extent as in the case of WOI.
27. Several members of the WOI staff, all skilled and competent experts, lectured in Iowa State University courses during the years in issue. These lectures were primarily in courses in the Department of Technical Journalism or in Telecommunicative Arts. (Representatives of other commercial and educational stations also lectured, as did personnel from other media. On occasion, students visited the noncommercial educational television station and the other commercial stations in the area market.
¡Professor 'Carl 'Hamilton headed the Department of Technical Journalism and taught several courses in advertising and publicity methods. Assisting him in the work of the department were an associate professor and two assistant professors. In addition, ten members of the WOI-AM-FM-TV staff participated in the lectures to various classes dealing with the areas of radio and television at Iowa State. These lectures were essentially based on the operation of WOI-AM-FM-TV. For example, Mr. Mulhall, general manager of the stations and an assistant professor on the University faculty, lectured four or five times per quarter in a course in radio and television advertising. Also, Mr. Mulhall lectured to several different Telecommunicative Arts seminars three or four times each year and led special project work with a number of students in these seminars, devoting three to four hours per week to this work. Mr. Ketcham, chief engineer of the stations and an assistant professor on the faculty, taught seminars several times each quarter and lectured at least once each year to electrical engineering students with respect to the technical aspects of television station operation. Mr. Ketcham also lectured to students in the basic course in Telecommunicative Arts to familiarize *381them with television engineering responsibilities and problems. Mrs. Varnum, Children’s Program supervisor and an associate professor on the faculty, lectured approximately 20 times per quarter for a total of 45 hours per quarter in the fields of child development and education. Mr. Tostlebe, sales and service supervisor for WOI-TV, lectured in one course three hours yearly.
28. In contrast to the above educational activities by staff members, WOI-TV was run by them as a commercial enterprise during the years in issue. In both its internal operations and programming, it did not differ significantly from other commercial television stations. The efficiency of the operation is attested by the fact that from its inception, WOI-TV has been self-supporting, and no state funds have been allocated for its operation, equipment, or physical plant. The teaching activities by the staff were not allowed to interfere with regular activities in the operation of WOI-TV.
29. For each of the calendar years2 1981-65, in accordance with the regulations of the Federal Communications 'Commission, Iowa State University filed financial reports for WOI-TV. These reports showed net broadcast income 3 for those years as follows:
1961 _$203,122
1962 _ 132,253
1963 _ 209,415
1964 _ 304,079
1965 _ 13,654
The average of WOI-TV’s total broadcast revenues for the years in issue was 55.23 percent of the average revenues of the two other commercial stations in the Des Moines-Ames market. WOI-TV realized the bulk of its revenues from the sale of station time to (1) the network, (2) national and regional spot advertisers, and (3) local advertisers. WOI-TV did not set out its revenues from local advertising separately from revenues from national and regional advertising for the years 1981-63, although the station did have local sales during this period. As with other commercial television stations, WOI-TV was paid by the network or advertisers for its time *382on a predetermined rate based upon its circulation, or audience. In effect, the payments equalled a percentage of the rates listed on the station’s advertising rate cards, and they represented a portion of the income which the ABC network received from its national advertisers.
Under the network contract, WOI-TV was paid for broadcasting commercial programs provided by ABC. The prices paid depended on the hour of the day in which the program was to be broadcast, with the most expensive period being the evening hours of 6:00 to 10:00.
30. Tike other commercial television stations, WOI-TV had a contract with a national advertising representative during the years in issue, and its representative sold national advertising (known as “spot”) time on its schedule. With the exception of the percentage commissions payable, the contract was typical of the agreements between other commercial television stations and their national advertising representatives. The commission rate charged of 15 percent was within the usual range. WOI-TV’s national representative performed roughly the same services for that station that the representative performed for its other commercial television station clients. These services included (1) using the WOI-TV advertising availability sheets and rate cards to sell national spot advertising, including advertising time in the State of Iowa; (2) assisting in the production of commercials at the WOI-TV studios; and (3) creating advertising copy for commercials to be telecast. One person in the sales section of the station was responsible for coordination with the outside sales representative and for maintaining liaison with advertisers and their agencies. A second person in the sales section was the sales service supervisor.
The WOI-TV availability sheets, which indicated those periods of time available for advertising, were substantially the same as those used by other commercial television stations. These availability sheets also listed ratings so that potential clients were able to ascertain the size or potential size of the audience generated by the designated programming.
*38331. The advertising rates in effect were indicated by WOI-TV’s rate cards. Tlie rate cards also gave information on the station’s coverage in terms of specific audiences, such as the farm audience, and the total population in the market so that advertisers would be able to gauge the market. As was the case with the other commercial stations in the market, WOI-TV’s national spot advertising rates, indicated on its rate cards, were based in part on the hourly rate determined by the network in its contract with the station. WOI-TV’s rate cards were similar to those used by the other two local commercial stations.
WOI-TV’s basic advertising rates were based on a number of factors. One factor was the time of day in which the advertisement was to be telecast. Class A time, which corresponded with so-called “prime time,” or 6:00 to 10:00 p.m. daily, was the most expensive. Class B time, immediately prior to and following prime time, was less expensive. Class C time was the least expensive and comprised the bulk of the broadcast day from sign-on to the beginning of Class B time and thereafter in the late evening. In addition to the time of the day during which the advertisement was to be telecast, the rates depended on the length of the advertisement and the frequency of telecasts thereof. Longer advertisements were more expensive, of course, but, at the same time, the rates were less expensive if additional advertisements were purchased. This system was an inducement to the advertiser to buy more advertising spots on the station. In addition to its basic rates, WOI-TV offered both weekly and yearly advertising saturation plans under which an advertiser could buy time at a basic weekly or annual rate which was dependent on (1) the time period for which it was purchased, (2) the length of the advertisement, and (3) the frequency with which the advertisement was to be broadcast. The weekly and yearly saturation plans were both less expensive than the basic rates and, as a further inducement, the yearly plan was made less expensive than the weekly plan. In addition, the station offered an annual plan discount. A guaranteed Class A spot was more expensive than one which could be moved at the station’s discretion if it were to sub*384sequently sell the same spot at a higher advertising rate. Class B and C advertisers were fixed in their respective time periods because of the greater availability of Class B and C time. WOI-TV sold both advertising spots to be inserted in a program (participation) and break spots to be inserted between two network programs. All these considerations are typical of the sales planning generally by commercial television stations.
32. Insofar as local advertising was concerned, during the years in issue, the two members of the sales staff worked directly with advertisers, advertising agencies, and the station’s national spot representative located in Des Moines. WOI-TV charged for the production of advertisements in its studios which included specific charges to the advertisers for photographic labor, film, slides, tape, and studio production costs. It also made available its production Talent Bate Cards through its national sales representative.
33. Both network and advertising rates were dependent on the size of the audience a program could generate. Of the three stations in the Des Moines-Ames are, WOI-TV had the lowest network and Class “A” hourly rates per thousand of circulation, as shown by the following table:



34.The accounting section, averaging a staff of three, maintained records for both the television station and the radio stations. With regard to WOI-TV, it maintained advertising contracts, the ledger book containing sheets indicating billing to advertisers (including ABC), records indicating the commissions paid by WOI-TV to its national sales representative, preparation of the daily cash reports stating how much money was collected by WOI-TV from its advertisers, and preparation of Intramural Billing Forms to be submitted by WOI-TV to other University departments in order to receive credit in the University’s accounts for the *385station’s services to those departments. During the period in issue, there was at least one person in the accounting section who was exclusively responsible for posting the revenues received from advertisers. There were additional efforts by others. A separate ledger sheet, on which income was posted, was maintained for each advertiser. Spot advertisements were taken off the station logs and posted to the records. The ABC network’s computer printout was checked for accuracy with respect to the amount the network owed Iowa State for time, purchased on WOI-TV.
35. "WOI-TV Sales was listed during the years in issue in the Northwestern Bell Telephone Company’s directory for Des Moines by H-B Television, Inc., the station’s national advertising sales representative, as follows:
WOI-TV SALES (Bold print) 282-0201
1004 Paramount Building
The number given for WOI-TV Salles corresponds with the telephone number for H-B Television, Inc. "WOI-TV SALES was listed in the commercial yellow pages telephone directory by H-B Television as follows:

TELEVISION BROADCASTING COMPANIES AND STATIONS

WOI-TV SALES 1004 Paramount Bldg. 282-0201
36. On June 4,1962, the Building and Business Committee of the Iowa Board of Begents received bids for insurance on WOI-TV. The insurance subscribed to included “Business Interruption Coverage Insurance” based on a $740,000 estimated gross annual business less $75,000 estimated commissions payable. This netted to $665,000, of which 80 percent was coinsurance.
37. During the period in issue, the television station promoted or advertised its programming in the Des Moines newspapers. In addition, mail circulars designed by the graphics department were used approximately every three months.
The station received and, on occasion, used promotional and newspaper layouts and newspaper mats from the ABC’ network. WOI-TV’s advertising in local newspapers during *386the years in issue consisted primarily of promotion of its entertainment programs. Sponsors were sometimes identified in the advertisements. The advertisements were similar to those used by the other local commercial and educational stations.
38. WOI-TV’s affiliation relationship with the ABC television network was governed by contracts which were entered into periodically.4 These affiliation agreements were the typical standard form contracts entered into between the ABC network and any major market affiliate.
The contracts contained the standard provision allowing for termination by either party on six months’ notice. Pursuant to the requirement of the FCC that all commercial television stations be granted the rights to either preempt or not to clear network programs, such rights were set out in the contracts. Preemption is the failure of a network affiliate to carry a previously confirmed network program and to substitute what is, in its judgment, a program of greater local or national interest. Nonclearance is the deletion of a specific continuing network series of programs which a station believes is unsuitable or contrary to the public interest, or which is telecast by the network at a time period which the station feels should be better devoted to programs of local interest. The scheduling of network programs was done by ABC, which notified the station of its offerings in lists termed “orders”. Upon receipt of such orders, WOI-TV decided whether or not to clear the programming for broadcast. In the event that a previously cleared network program was preempted for local programming, the station always offered a substitute time, or “makegood”, at which the program could be run. The makegoods were not always accepted by the network.
Under its contracts in effect until September 1963, WOI-TV, like other commercial stations, was governed by the practice of network option time. Thus, during several periods *387of tbe day, WOI-TV agreed to broadcast network programming unless tbe offered program was found to be either (1) contrary to the public interest or (2) of less importance than a local program of outstanding value to the public. The times covered by this clause included 7:30 to 10:00 p.m. throughout the week as well as 2:00 to 4:30 p.m. to 6:00 p.m. on weekends. Although the practice was outlawed by the FCC in 1963, the existence or absence of the option time clause did not make a substantial difference in programming by the station. During the years in issue, the majority of network programs offered were broadcast by WOI-TV.
39. On December 19, 1965, Iowa State President, W. Poberts Parks, issued a lengthy statement of'general policy regarding the objectives and operations of WOI-TV. This policy memorandum had been under consideration and study within the University by several committees throughout 1965. WOI-TV management endeavored to adhere to this policy throughout the years in issue. Keproduction of this very detailed memorandum in its entirety is deemed unnecessary since large portions of it deal with future plans. It is thought sufficient to quote the following extract.

GUIDES FOB WOI-TV SERVICES

The purpose and function of WOI-TV is not to produce financial gain per se but to operate in such a manner as to:
1. Maintain and preserve its plan, facilities and staff,
2. Preserve the station status as an effective medium of mass communication to the general public of central Iowa and operate in accordance with the responsibilities imposed upon it by virtue of its FCC license,
3. Provide service in support of the various departments of the University,
4. Extend the University to the general public, and
5. Provide an audience and a financial base for a significant schedule of educational programs.
The University recognizes the need for WOI-TV commercial success as the basis upon which the station may accomplish these objectives. Station management is expected to work in conjunction with appropriate officials of the institution to develop budgets, pay scales and gen*388eral policies which will assure financial success as well as accomplishments of the stated objectives.
:Jj # ❖ * ❖
It is not expected that WOI shall function as a vocational training center for student personnel any more than other service departments do, nor that student trainees shall be a substitute for professional WOI staff employees. Nevertheless, it is expected that WOI-AM-FM and TV will provide part-time employment and, hence, on-the-job experience for qualified students. * * *
40. The essential product of television is its programming. Different program philosophies underlie the operation of commercial and noncommerical stations. The programming of a commercial station is intended to reach the largest possible audience, or circulation, in any given market or transmitting area. Greatest attention is focused on prime time, those evening hours when the most television viewers are available and which bear the highest advertising rates. In this regard, the commercial television station concentrates on maintaining a high level of audience flow from program to program. In order to reach a large number of viewers, a commercial station on the average will tend to provide entertainment or programming a bit lower on the intellectual level than will noncommercial stations.
Audience appeal is measured by ratings, and those reported by the American Research Bureau ( ARB) and A. C. Nielsen Company are generally regarded as authoritative in the television industry. The audience level, as measured by these ratings, is important to commercial stations, generally, because the sales revenue from advertising time is dependent upon the circulation, or audience, which a station can reasonably forecast to an advertiser. For this reason, schedules listing programming available for commercial advertising also list ratings.
41. In general, noncommercial educational television stations are not concerned with maximizing advertising revenues by programming for the largest number of viewers in a market on a continuous basis. Rather, the emphasis is on reaching a series of separately identifiable smaller audiences *389by programming for each audience’s particular educational needs. Because of the nature of their programming, many noncommercial educational television stations do not reach large audiences, and ratings do not assume the same importance to the noncommercial educational station as they do to the commercial station. The noncommercial educational station is not interested in how large an audience is tuned to the station at a particular time but, rather, in how many people view the station over an extended period of time. Since advertising is not allowed on noncommercial stations, commercial availability sheets are not circulated. While the commercial station ordinarily does not shut down during the broadcast day for fear of losing its audience, the noncommercial educational station shuts down when it has completed its educational broadcasting for two reasons: one budgetary, and the second, a lack of appropriate programming to fill the day. Some stations would consider that the use of commercial-type entertainment programming in order to stay on the air would be inconsistent with their educational purpose.
Thus, in 1964, the average educational station broadcast only five days per week, presenting 42 hours, 20 minutes of programming, averaging about eight and one-half hours per day. Of this, approximately 50 percent was provided by the various educational networks and 40 percent was locally produced.
The A. O. Nielsen Company, the only company engaged in making audience surveys which reported on educational television stations from 1960 to 1965 found that there were none in the United States which reached a weekly cumulative audience of 10 percent of the households in its market on any continuous basis. The American Eesearch Bureau, the other major company engaged in making surveys of television audiences, did not report on educational television stations because the audiences did not reach a level which met the company’s minimum requirements for reporting.
42. The geographical area covered by the three commercial VHF television stations in the Des Moines-Ames market consisted of approximately 47 Iowa counties in the central por*390tion of the state, having a population in 1960 of 1,123,479. These three stations together served an average of 337,466 television households in this area in 1965. WOI-TV competes with the other two stations for a share of the viewing audience.
A comparison of the audiences reached by the three Des Moines-Ames commercial stations shows that during the years involved, WOI-TV (ABC) averaged 30.78 percent of the audience reached by the three commercial television stations, while WHO-TV (NBC) and KRNT-TV (CBS) shared the remaining 69.22 percent
43. One substantial difference between commercial and noncommercial educational stations is found in the nature of the programs they telecast. The general categories of broadcasting by educational stations for what was shown to be a typical week within the school year in 1964, as published by the Morse Communication Research Center, Bran-déis University, showed that music, fine arts, and dramatic theatre predominated with children’s programs running a close second. Prominent also were various news programs, social science programs, and presentations in various scientific fields, medicine and technology. So-called “entertainment” programs comprised less than four percent of the total.
44. The regulations of the Federal Communications Commission require that all licensed television stations file for renewal of their licenses every three years. A dossier containing the initial license application and all renewal applications for each station is maintained by the Commission as a matter of public record. All statements made by a licensee in the renewal application are considered material representations. The form states that replies to the included questions “constitute a representation of programming policy upon which the Commission will rely in considering the application.” The Commission relies on the applicant’s responses in the Statement of Program Service in judging whether the station is operating in the public interest. This includes both the applicant’s past operations and its proposal for the ensuing license period.
*391The renewal application form used by the FCC was prepared pursuant to the Commission’s rule-making authority, and the Commission has sought the views of industry prior to changing or adopting a form. The Federal Report Act of 1968 indicates that, at least from that year on, the industry could be granted a hearing in the discretion of the agency. Any substantive change in the form must be approved by the Bureau of the Budget, and such approval is noted on the first page of the form.
Section IV of the commercial Renewal Application, the Statement of Program Service, utilizes a composite week to represent a commercial station’s typical programming over the preceding three-year period. The composite week (Sunday-Saturday) normally straddles two years because it is announced in November of a given year after the seven days in it have passed. The FCC recognizes that summer programming differs from that during the rest of the year, and, consequently, at least one day is selected for the composite week from the summer months. The Commission also recognizes that certain days of the year contain atypical programming due to a national event which may have disrupted the normal schedule, and these days are avoided in the selection of the composite week. The 1964 Renewal Application had a composite week selected by the Commission consisting of two days in the calendar year 1963 and five days in 1964, including a representative day from the summer months.
45. Under Section IV, the Statement of Program Service of the commercial Renewal Application, applicable to the composite week, the FCC has. used certain categories to describe the nature of the station’s programming. These categories were determined by the FCC under the rule-making procedures mentioned above. During the period relevant to this case they included the following:
(1) Entertainment (all programs intended by the station primarily for entertainment, such as music, drama, variety, comedy, quiz, breakfast, children’s, etc.);
(2) Religious (sermons, religious news, music, drama, etc.);
*392(3) Agricultural (all programs containing farm or market reports or other information specifically addressed to the agricultural population);
(4) Educational (programs prepared by or in behalf of educational organizations, exclusive of discussion programs);
(5) News (news reports and commentaries);
(6) Discussion, (forum, panel and round-table programs) ;
(7) Talks (all conversation programs not falling under religious, agricultural, educational, news or discussion including sports);
(8) Miscellaneous.
These categories are not without controversy. The category of educational programming is defined by source; the other categories by subjective content. Many programs could be classified under different categories. The Commission has never instructed stations as to how to categorize certain programs, recognizing that such classification is more or less of a subjective nature. Stations are allowed to determine their own classifications. For example, in determining which programs to classify as entertainment, the station makes the determination of the primary intent of the broadcast.
The Renewal Application allows a television station an opportunity to offer alternative program classifications or an alternative measure to the use of the composite week. The application states:
If the data furnished in response to the questions in this Section IV do not in the applicant’s opinion adequately reflect station operation, attach as Exhibit No. — a statement setting forth any additional program data that the applicant desires to call to the Commission’s attention. (If the applicant feels that the program material classified in Paragraph is susceptible of classifications other than those listed he may supplement Paragraph 2 with an explanatory statement of this Exhibit.)
46. A commercial television station is required to submit as a part of its renewal application its daily program logs for the composite week. The logs reflect everything the *393station has telecast on the air. The programs listed in the logs are those classified into the above categories.
WOI-TV’s program logs have listed everything which it has telecast on the air, as well as the classifications of those programs in accordance with the FCC categories enumerated above. The station has used its own judgment in determining how-to classify its programs. It has always filed a commercial Renewal Application, and on its Renewal Application filed in 1964, it classified its programs during the composite week as follows: - ■ ■

Percent

(1) Entertainment_ 82. 0
(2) Religious_ 1. 3
(3) Agricultural_ 3. 6
(4) Educational_ 3.1
(5). News _ 4.9
(6) Discussion _ 1. 3
(7) Talks __ 3.8
Total_100.0
WOI-TV’s programs classification made reference to three exhibits which were (1) the underlying program logs, (2) a statement of time devoted to the discussion of public issues, and (3) a statement in response to the FCC invitation to offer alternative program classifications or an alternative measure to the composite week. Although WOI-TV made a supplemental response to its application, there is nothing in this response to indicate that WOI-TV disagreed with the program categories used by the Commission in the Renewal Application, nor is there any indication that the composite week did not accurately reflect its programming during the preceding license period. The composite week would include all programming presented on the selected days, including regularly scheduled broadcasts. Of the programs listed, and discussed in the station’s Exhibit VII, only the election coverage is not listed as being regularly scheduled.
47. The respective, program data on the renewal applications filed with the Federal Communications Commission during the years in issue by the three commercial Des Moines/ *394Ames stations and the ABC affiliates in markets comparable in either population or circulation showed the following:

Program data for commercial stations

[In percent]



48. From the foregoing chart, it may readily be seen that the programming of WOI-TV was not substantially different from that of other commercial television stations comparable to WOI-TV.
As a further indication of this fact, it should be noted that there are three basic sources for television programs: (1) the network programs distributed to all affiliates, (2) films, including feature films originally produced for television or broadcast as reruns of previously broadcast network series and sold in the form of tapes or films to all commercial television stations, and (3) locally produced programs. On its 1964 renewal application, WOI-TV indicated that 52.3 percent of its total telecast time was devoted to programs supplied by the ABO network. This percentage is typical of a network-affiliated commercial television station. Syndicated reruns of network programs, syndicated programs produced originally for television, and feature movie films accounted for 33.7 percent of WOI-TV’s total broadcasts. Most of the syndicates broadcast by WOI-TV were intended primarily for entertainment. Together, network programs, syndicates, and feature films represented 86 percent of WOI-TV’s composite week, and the station indicated that the sources of programming would remain substantially the same for the ensuing license period. Three percent of the proposed broad*395cast schedule was to represent news, weather, and sports, which are also typically broadcast on all commercial stations. Thus, fully 89 percent of WOI-TV’s broadcast time was devoted to programs typically aired on other commercial stations.
49. WOI-TV’s renewal application for 1964 represented that it had devoted 75.6 percent of its total telecast time during the composite week to programs which were either commercially sponsored or contained commercial spot announcements at intervals of less than 14% minutes. The station indicated that no substantial change would be made in the ensuing license period. The station also represented that its commercial policy would permit up to 85 percent of broadcast time to carry commercial advertising and that its proposed schedule showed availabilities for further commercial time.
Although WOI-TV’s commercial policy was typical of a commercial station, the manager of one of the two other network-affiliated stations in the Des Moines-Ames market testified that a policy permitting commercial time in up to 85 percent of the broadcast schedule would be high as far as his station was concerned and may have been at the maximum level permitted by the National Association of Broadcasters Code to which WOI-TV also subscribed. WOI-TV’s policy would permit the use of a maximum of advertising time under the Code if a sufficient number of advertisers wanted to buy that time. This number was not available very often.
5,0. Through analysis of the nonentertainment categories as listed on the renewal application, the Commission evaluates the extent to which a station is devoting its facilities to matters and concerns of the community over and above the provision of entertainment programs. The Commission does not prescribe programming by requiring performance in each individual category; rather, overall performance is considered in evaluating the station’s performance as an outlet for the problems in the community. Although not all programs in these categories would be considered public affairs broadcasts, the nonentertainment classifications would in-*396elude programming intended primarily as public affairs broadcasts. As reflected in the composite weeks and proposed schedules, the broadcast time devoted to nonentertainment programming during the years in issue by WOI-TV and the two Des Moines stations is as follows:
WOI-TV 18.0 to 20.6%
KRNT-TV 30.6 to 30.6%
WHO-TV 25.5 to 25.5%
51. WOI-TV, like other commercial television stations produced locally originated public affairs programs, and, like other stations, frequently received praise for some of these programs. Some of its locally produced programs carried commercial advertising. Programs which were produced for less than the full-time period permitted the insertion of promotional material, station breaks, public service announcements and commercial advertising. All local public affairs programs are reflected in the station’s logs and, if telecast on the days selected by the Federal Communications Commission, were also reflected in the composite week. 'Locally produced programming accounted for 14 percent of the total broadcast time during the years in issue. Of this, 5.6 percent was listed as commercial programming.
Locally produced programs telecast during the years in issue included such programs as Farm Facts, Noon Report, Uterine Cancer, Introductory Math, athletic events, and many others. Three of these programs were categorized as “intended primarily for education” by the station in its 1964 license renewal application. Subtracting the telecasts of Bozo, Graves End Manor, and Magic Window, the total hours of programming was 2,571, or an average of 643 hours of nonentertainment programming per year. If “TV School-time” is eliminated as being based in large part on recorded material, the total drops to 568 hours per year.
Regularly scheduled local programming which was neither intended primarily for entertainment nor based in large part on recorded materials accounted for approximately 9 hours per week, or 468 hours per year. This left approximately 2 hours per week available for locally produced special programming.
*397The scheduling of local programming was a balance of several factors, and maximization of the available audience was one. The availability of network programming for a particular time slot was another. Where special audiences were involved, consideration was given to the time at which they were available. For example, in-school broadcasts were scheduled for midmorning and regular Extension Service programs for the noon hour. However, during prime time, when the maximum audience was available, only one regularly scheduled nonentertainment local program was scheduled each week.
WOI-TV had a policy of granting free and equal time to political candidates for major state and national offices. It did not sell time to, or on behalf of, any political candidate.
52. WOI-TV was not the only station in the market to produce such locally originated programs. Extension programs were presented on KRNT-TV and WHO-TV maintained a farm service department to provide programming in that area. Local programming and public service presentations on the latter two stations included broadcasts concerning pollution and conservation, health and medical programs, local election reports, life-saving techniques, and political broadcasts.
The programming policy of WOI-TV was not substantially different from that of its competitors. All three practiced nonclearance and preemption pursuant to their network contracts.
Both Des Moines stations hired students as part-time employees and WHO-TV employed one per year as an intern in its newsroom. Employees of these stations lectured at various universities in the area, including Iowa State and Drake University in Des Moines.
The advertising procedures of the three stations are and were virtually identical.
53. The two radio stations, WOI-AM and WOI-FM, were noncommercially operated. They sold no advertising and received no funds other than their allocation from the University budget. From its inception, WOI-TV has been self-supporting, and no state funds have been allocated for its operation, equipment, or physical plant. Any funds in excess *398of the television station’s needs were approved by the University president and, on occasion, by the Board of Regents, for capital expenditures of WOI-TV or other University purposes. Revenues from the television station were not available for use by the radio stations.
Thus, the radio stations were treated separately from WOI-TV in the University budget and annual financial statements. Separate accounts for each were kept on the University’s books. In the annual financial statements, WOT-TV’s summary of operations was listed as an income-producing activity.
Each year, the University determined which employees were to perform services for WOI-AM and WOI-FM and which employees were to perform services for WOI-TV. Where employees performed services for both media, the University in its records, allocated the compensation of such employees. These employees’ names were also reflected in the University budget for the years in issue. Of a staff of approximately 100, about one-third had functions in both media. Overall management responsibility for WOI-AM-FM-TV rested in the general manager. Other members of the management group included the educational coordinator and associate manager for television, the associate manager for WOI-AM-FM, and the chief engineer. Each station had an assistant engineer.
54. The three WOI stations were affiliated with different networks, i.e., WOI-TV with the commercial ABC television network and WOI-AM and WOI-FM with the noncommercial National Educational Radio Network and the National Education Tape Network respectively.
The program emphases of the radio and television stations were different during the years in issue. WOI-AM offered a broad spectrum of programs in music, news, weather, sports, agriculture, and economics. WOI-FM placed a greater emphasis on good music and cultural events and was aimed at a more limited audience. The three stations kept separate program logs and had separate traffic managers.
55. Full-time television personnel also found their talents in demand for radio programming. For example, one tele*399vision staff member produced a weekly 30-minute program especially for radio and lias appeared daily on WOI radio in a five-minute discussion feature. Two additional programs, overseen by the same producer, are broadcast regularly on WOI radio. A second television producer was responsible for three weekly radio programs and was co-producer of another WOI radio series.
A single news staff averaging 11 full-time and six student part-time employees had responsibility for gathering, editing, reporting, and broadcasting news on both radio and television. This was similar to the operations of the other radio-television stations in the area. This staff provided local, national and international news events, sports news, and weather reports, the last including forecasting and storm warning services. The news staff was also responsible for public affairs news broadcasting on both media, including in-depth reports on local and statewide issues. WOI-TV carried daily broadcasts of the proceedings of the State legislature when it was in session.
The production section, averaging 20 full-time and nine student part-time employees, had the primary responsibility for the production of local programs for radio and television. These individuals conceived of programs, discussed the possibilities of new programs within their group and, finally, with the station management, planned and produced programs for either radio or television broadcast. These programs were produced at various lengths and were part of the regular broadcast schedule. When necessary or advisable, network programming was preempted. Production personnel also counseled and assisted academic departments concerning the use of closed-circuit television instruction and the techniques involved in using it. Television producers were assisted by cinematographers, artists, and photographers who were part of the production section. Some personnel devoted themselves only to radio or television work, and some worked in both media. The arrangement was similar to that of other affiliated radio and television stations in the Des Moines-Ames area.
Mr. Sheridan of the Federal Communications Commission, *400testifying as an expert, stated that a commercially operated television station and a noncommercial radio station would not be considered by him to be an integrated facility.
56. In 1960, plans were authorized and architects were engaged by the Board of Eegents for the construction of a Communications Building on the University campus to house the radio and television stations, a film unit, and to provide television teaching facilities. Until the time that the building was completed in May 1964, WOI-TV occupied a different building from the two radio stations. The cost of this building, $990,000, was paid for by funds earned by WOI-TV. The three stations are the sole occupants of the Communications Center. Two classrooms were built adjacent to one of the television broadcast studios.
The two other affiliated radio and television stations in the Des Moines-Ames market also operate from a common building.
57. Graphic materials used for local television productions, open- and closed-circuit television broadcasts and for commercial television broadcasts were provided Jby a graphics section of the production department. The two persons in the section also prepared newspaper layouts and editorial material for television as well as general advertisements placed by WOI-TV in the newspapers. They also made available technical instruction and services to other campus departments using television visuals and provided art services to the Telecommunicative Arts students’ television training program.
58. Supporting services, averaging six staff members and six student personnel, had responsibility for traffic, continuity, and promotion. The traffic subsection was responsible for scheduling and clearing programs and for building the daily program logs required of all stations by the FCC. Traffic also scheduled network programs and commercial advertising. The continuity section was responsible for writing some material delivered on the air. When requested by advertisers, this section also wrote advertisements for broad*401cast on WOI-TV. Another supporting service involved the training and supervision of the television announcer ■ staff.
The advertising sales section was concerned solely with advertising on W'OI-TV. Of the two persons comprising the section, one was concerned with the coordination of sales representatives outside the station and for maintaining liaison between WOI-TV and its advertisers.
59. The relationship of the television station’s receipts to the plaintiff’s overall finances is shown in the following table for 1964-65, and is typical of all the years in suit:
Iowa State Univeesity, 1964-1965

Source of funds

State Appropriations_$16, 693, 950
Federal Appropriations_ 3, 130, 746
Student Fees_ 4, 368, 550
Sales and Endowment Income_ 586, 246
Organized Activities_ 2, 053, 691
Gifts, Grants and Contracts_ 16, 600, 770
Self-supporting Enterprises_ 11, 977, 794
Other Income_ 889, 400
Total_ 56, 301,148
Broadcast Revenues of WOI-TV (From Form 324, Report to FCC, 1965)_ 1, 052, 915
Revenues to Funds_ 1. 87%

Expenditures

Instruction (Including Organized Activities)_$14, 827, 392
Research and Public Service_ 19, 045, 813
Extension_ 4, 285, 571
Physical Plant_ 2, 350, 033
Administration_ 882, 724
Library_ 685, 200
General Expense_ 1, 119, 299
Equipment_ 376, 554
Self-supporting Enterprises_ 10, 753, 343
Scholarships, Fellowships, and Deposits_ 1, 008, 900
Total_ 55, 334, 829
Broadcast Revenues of WOI-TV (From Form 324, Report to FCC, 1965)_ 1, 052, 915
Revenues to Expenditures_ 1.9%
*402tTLOTBfATE MNDINGS OF FACT
60. WOI-TY was operated during the years in issue as a typical commercial television station whose overwhelming goal was achievement of its commercial aims. The operation of WOI-TV was not substantially related to the educational functions of Iowa State University, except in the sense that its net income was destined for use by the University.
61. The operation of WOI-AM, WOI-FM, and WOI-TV did not constitute a single trade or business during the years in issue.
62. The income realized by Iowa State University from the operation of WOI-TV was unrelated business income subject to taxation under Section 511 of the Internal Eevenue Code of 1954, and the expenses incurred in the operation of WOI-AM and WOI-FM were not deductible under Section 512.
CONCLUSION OE LAW
Upon the foregoing findings of fact and opinion, which are adopted by the court and made a part of the judgment herein, the court concludes as a matter of law that plaintiff is not entitled to recover, and the petition is dismissed.

 Professor George K. Town, Dean of the College of Engineering at Iowa State, was a member of the ECC Committee on Engineering Studies.


 Iowa State’s actual accounting year Is a fiscal year ended June 30.


 Network, advertising, and Incidental broadcast revenues less commission, technical, selling, and other broadcast expenses.


 Based upon decisions by its staff, WOI-TV refuses certain ABC programs and preempts others. Such decisions are usually based upon the availability and desirability of using programs produced by WOI-TV. A few ABC programs are considered unsuitable locally.

